          Case 2:17-cv-04392-MMB Document 142 Filed 11/28/17 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    LOUIS AGRE, et al.                                       CIVIL ACTION

          v.                                                 NO. 17-4392

    THOMAS W. WOLF, Governor of
    Pennsylvania, ROBERT TORRES *, Acting
    Secretary of State of Pennsylvania, JONATHAN
    MARKS, Commissioner of the Bureau of
    Elections – in their official capacities.

                  ORDER RE: ASSERTION OF LEGISLATIVE PRIVILEGE
                        AND DELIBERATIVE PRIVILEGE AND
                    “CONSENT” MOTION FOR PROTECTIVE ORDER

BEFORE: Smith, Chief Circuit Judge; Shwartz, Circuit Judge; Baylson, District Judge:

         Issues have been presented which relate to the assertion by the Legislative Intervenor

Defendants of legislative privilege and deliberative privilege, and a Privilege Log by Speaker

Turzai (ECF 118). This Court has previously entered an order denying Speaker Turzai’s Motion

for a Protective Order based on these privileges (ECF 114). Counsel for Speaker Turzai have

apparently interpreted that Order has extending only to Speaker Turzai’s deposition. The Court,

however, intended it as a ruling on any assertion of legislative privilege or deliberative privilege.

The Court notes that Senator Scarnati had filed a similar motion (ECF 111), but then counsel

withdrew it (ECF 117). It appears from the documents that Speaker Turzai’s deposition is

scheduled for Tuesday, November 28, 2017 and therefore this Court will rule promptly on

pending motions related to this issue.

         In addition, counsel for Plaintiffs and Speaker Turzai have entered into a “stipulated

protective order” and filed a “Consent Motion for the Entry of Protective Order” (ECF 116),


*
 As of October 11, 2017, Robert Torres is the Acting Secretary of the Commonwealth of Pennsylvania and is
hereby substituted as a defendant. See Fed. R. Civ. P. 25(d).
         Case 2:17-cv-04392-MMB Document 142 Filed 11/28/17 Page 2 of 3



which would keep any privileged material “confidential,” with limited exceptions. However, the

Executive Defendants, Governor Wolf, et al. did not consent and have asserted an opposition to

the entry of this protective order, primarily citing Pansy v. Borough of Stroudsburg, 23 F.3d 772

(3d Cir. 1994), which is the leading case in this Circuit limiting the designation of discovery

materials, in a case of public interest, as confidential.

        The Court has reviewed the “Joint Privilege Log Regarding Legislative Defendant

Speaker Turzai’s Privilege Log” (ECF 118 and 123) which contains statements by both Plaintiffs

and Speaker Turzai on the assertion of this privilege.        The Court OVERULES all of the

Speaker’s objections to producing documents based on legislative or deliberative privilege. The

Court has considered the claims in the case and the contents of the privilege log and has again

concluded that the information is relevant and may shed light on the intent/motivation for the

map; the information is sought in a serious litigation that seeks to enforce public rights; the

information sought provides information about legislative purpose that cannot be obtain from

alternate sources, and prohibiting access to such information “could thus obscure important

evidence of the purpose and intent of the legislative action.” Benisek v. Lamone, 241 F. Supp.3d

566, 575-76 (D. Md. 2017). We have considered whether ordering disclosure would have any

chilling effect or future timidity on the part of the Legislature and have concluded that the

serious issues in the case and the Legislature’s role in crafting the redistricting plan at issue and

the fact that the Legislature is the only source of the evidence concerning its intent and

motivation all outweigh this minimal potential effect.

        The Court notes that both Legislative Defendants, Speaker Turzai and Senator Scarnati,

have filed a Notice of Additional Authority (ECF 110), which cites to a decision of Judge

Brobson of the Commonwealth Court in the pending “Pennsylvania” litigation, enforcing



                                                   2
          Case 2:17-cv-04392-MMB Document 142 Filed 11/28/17 Page 3 of 3



Pennsylvania’s absolute privilege against discovery into legislative activity. Although we have

respect for the decision of the Commonwealth Court interpreting Pennsylvania law, we note that

this is a federal court, adjudicating a claim under the Constitution and laws of the United States

and pursuant to Fed. R. Evid. 501, we are guided by federal law in determining privilege issues.

        This Court, on this 28th day of November, 2017, therefore ORDERS that Speaker Turzai

shall produce all of the documents for which he has asserted legislative or deliberative privilege,

prior to or during his deposition.

        In addition, the Court will DENY the Consent Motion for Protective Order (ECF 116).

                                                     BY THE COURT:

                                                     /s/ Michael M. Baylson
11/28/2017
                                                     MICHAEL M. BAYLSON
                                                     United States District Court Judge


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